UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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                                                                    :
In re:                                                              :   Chapter 11
                                                                    :
Orion HealthCorp, Inc., et al.,                                     :   Case No. 18-71748-67 (AST)
                                                                    :   Case No. 18-71789 (AST)
                                                                    :   Case No. 18-74545 (AST)
                                           Debtors.                 :   (Jointly Administered):
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Orion HealthCorp, Inc., et al.,                                     :
                                                                    :   Adv. Pro. No. 18-08053 (AST)
                                          Plaintiffs,               :
               v.                                                   :
                                                                    :
Parmjit Singh Parmar, aka Paul Parmar, et al.,                      :
                                                                    :
                                           Defendants.              :
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Howard M. Ehrenberg in his capacity as Liquidating                  :
Trustee of Orion Healthcorp, Inc., et al.,                          :
                                                                    :   Adv. Pro. No. 20-08042 (AST)
                                          Plaintiffs,               :
               v.                                                   :
                                                                    :
Howard M. Schoor,                                                   :
                                           Defendant.               :
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Howard M. Ehrenberg in his capacity as Liquidating                  :
Trustee of Orion Healthcorp, Inc., et al.,                          :
                                                                    :   Adv. Pro. No. 20-08044 (AST)
                                          Plaintiffs,               :
               v.                                                   :
                                                                    :
American Express Travel Related Services Company,                   :
                                                                    :
                                           Defendant.               :
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                                                                    :
Howard M. Ehrenberg in his capacity as Liquidating                  :
Trustee of Orion Healthcorp, Inc., et al.,                          :
                                                                    :   Adv. Pro. No. 20-08046 (AST)
                                          Plaintiffs,               :
               v.                                                   :
                                                                    :
John Johnston, et al.,                                              :
                                          Defendants.               :

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Howard M. Ehrenberg in his capacity as Liquidating                  :
Trustee of Orion Healthcorp, Inc., et al.,                          :
                                                                    :   Adv. Pro. No. 20-08051 (AST)
                                          Plaintiffs,               :
               v.                                                   :
                                                                    :
Elena Sartison, et al.,
                                           Defendants.              :
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       ORDER SETTING PRE-TRIAL CONFERENCES BY VIDEO CONFERENCE
                 AND ESTABLISHING RELATED DEADLINES

         In accordance with Eastern District of New York Administrative Order No. 2020-22 et seq.

re: Restrictions on Visitors to Courthouses, and in order to protect the health and safety of the

public, Judge Trust is adopting the following video conference procedures, and ORDERS as

follows:

         Pending before the Court are Pretrial Conferences in the above captioned Adversary

Proceedings (each a “Matter”).


         1.         MEDIATION. Pursuant to EDNY Local Bankruptcy Rule 9019-1, the Court may
                    order mediation sua sponte or upon the request of one or more Parties. The Court
                    may determine which Parties shall participate in the mediation. If a Matter is
                    assigned to mediation, the parties shall comply with all applicable pleading,
                    discovery, and other deadlines and scheduling requirements.

         2.         HEARING AND ALLOCATION OF TIME. The Court will hold Pretrial
                    Conference in each of the Matters by video conference on March 16, 2021
                    commencing at 10:00 a.m. (each a “Hearing”) at United States Bankruptcy
                    Court, Eastern District of New York, Courtroom 960, 290 Federal Plaza, Central
                    Islip, New York 11722.

         3.         VIDEO CONFERENCE. The Hearing will take place on the Cisco WebEx
                    (“WebEx”) platform, which provides for full video conference capacity as well as
                    for separate audio only capacity. The following is the registration link for the
                    Hearing:

                    Tuesday, March 16, 2021
                    10:00 am | Eastern Daylight Time (New York, GMT-04:00) | 4 hrs



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     Registration link for video appearances:

     https://us-courts.webex.com/us-
     courts/j.php?RGID=r2d7dca8f182986cb408c5b5cdf848945

     Join by meeting number
     Meeting number (access code): 180 857 7870
     Meeting password: 03162021

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     Join by phone for audio only:

     +1-206-207-1700 United States Toll (Seattle)
     +1-646-992-2010 United States Toll (New York City)

     All counsel shall register for the Hearing and conduct a pre-hearing test of the
     WebEx platform using the same equipment that they intend to use during the
     Hearing, no later than two (2) business days before the Hearing; this test shall not
     be with the Court. In addition, all parties are to log in or dial in to the Hearing no
     less than thirty (30) minutes prior to the Hearing, and place their audio lines on
     mute. Please consult your IT personnel if you have any problems registering or
     logging in for the Hearing. For additional help go to http://help.webex.com
     and see information posted on Judge Trust’s procedures web page.

4.   PRIOR NOTICE OF INTENT TO PARTICIPATE; LIMIT ON
     PARTICIPATION BY VIDEO; TELEPHONE PARTICIPATION. In
     addition to registering for the Hearing, all persons wishing to participate in the
     Hearing by video shall send an email to ast_hearings@nyeb.uscourts.gov
     at least two (2) business days in advance of the Hearing to identify the parties
     that will appear. Such email shall state in the Re section the adversary and/or
     main case number(s) in which the party(s) shall participate, and the date of the
     Hearing; the body of the email shall include the full name and electronic mail
     address of the proposed participant(s) and the party(s) represented, and whether
     the party shall appear by audio only or by audio and video. The parties are
     directed to limit video conference participation to those who are necessary to
     address the Matters. If the number of persons wishing to participate in the video
     conference, in the Court’s view, exceeds the number which would permit the
     efficient, stable, and reliable transmission of the Hearing by video conference, the
     Court may require that certain persons be permitted to participate in the Hearing
     only by audio. Only the Parties who have timely filed papers in connection
     with the Matters and who timely and fully comply with this Order may
     participate in the Hearing.




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5.   PUBLIC ACCESS. The Hearing scheduled by this Order is a public matter.
     Parties-in-interest and the general public are invited to listen to the Hearing by
     audio only in listen only mode. Any person wishing to listen to the Hearing shall
     follow the instructions posted pursuant to paragraphs 5 and 7 hereof and dial in
     using the following numbers:

     Join by phone for audio only:

     +1-206-207-1700 United States Toll (Seattle)
     +1-646-992-2010 United States Toll (New York City)

6.   CONDUCT DURING HEARING.
     Although conducted using video conferencing technology, the Hearing is a court
     proceeding. The formalities of the courtroom shall be strictly observed. Counsel
     who appear on the video shall dress appropriately, exercise civility, and otherwise
     conduct themselves in a manner consistent with the dignity of the Court. In the
     interest of public safety, counsel are directed to refrain from participating either by
     audio or video while operating a vehicle. At all times when not addressing the
     Court, counsel are directed to place the connection on “mute” to prevent
     background noise from being heard. When speaking, you must announce who you
     are each time before speaking, speak up and enunciate so that you can be heard and
     understood. In addition, the parties are to avoid the use of a speaker phone (use a
     landline if possible).

     The Court reserves the right to remove from the Hearing any participant who fails
     to observe the formalities and decorum of the courtroom by disconnecting his or
     her line and/or video feed after due warning by either Judge Trust or his Courtroom
     Deputy. Such person will not be permitted reentry for the remainder of the Hearing.

7.   RECORDING PROHIBITED; OFFICIAL RECORD. No person may record
     the proceedings from any location by any means. The audio recording maintained
     by the Court shall be the sole basis for creation of a transcript that constitutes the
     official record of the Hearing.

8.   SETTLEMENT. If the Matters are settled, the parties shall submit to the Court a
     stipulation approved by all parties and a motion for approval of the same no less
     than two (2) business days prior to the date of the Hearing, along with an email to
     ast_hearings@nyeb.uscourts.gov, notifying the Court of the proposed settlement.
     If a stipulation and motion are not timely submitted to the Court, all parties
     shall be prepared to proceed with the Hearing. If the Hearing is removed from
     the calendar based upon the announcement of a settlement, the Hearing will not be
     reset for if the parties fail to consummate the settlement. In such event, the Court
     will consider only a motion to enforce the settlement, unless the sole reason the
     settlement is not consummated is that the Court did not approve the settlement, in
     which case the Hearing will be reset for hearing at a later date.



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     9.    SANCTIONS. Failure to appear at the Hearing or to comply with any provision
           of this Order may result in appropriate sanctions in accordance with Bankruptcy
           Rules 1001, 7016, 7037 and 9014, including the award of attorney’s fees, striking
           of papers, exclusion of exhibits or witnesses, or the granting or denial of any of the
           Matters.

     10.   CONTINUANCES. Continuances of the Hearing or any deadlines set forth in this
           Order must be requested by written motion. Any request for continuance or
           amendment to this order shall set forth the status of discovery and shall state the
           reasons why the party or parties seek a continuance.

     11.   SERVICE: Plaintiffs shall serve a copy of this Order on all appropriate parties
           within two (2) business days following entry of this Order, and file a certificate of
           service thereof within two (2) business days thereafter, as required by this Court’s
           Local Rules.




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Dated: March 4, 2021                                                Alan S. Trust
       Central Islip, New York                          Chief United States Bankruptcy Judge

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